            Case 12-03256 Document 81 Filed in TXSB on 08/10/15 Page 1 of 9




                                     IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                                HOUSTON DIVISION

In re:                                                 §     Case No. 12-31500
STEPHEN K. HANN,                                       §     Chapter 7
Debtor                                                 §     Judge Brown
                                                       §

SAEED KAHKESHANI,                                      §
Plaintiff                                              §
                                                       §
vs.                                                    §     Adversary No. 12-03256
                                                       §
STEPHEN K. HANN,                                       §
Defendant                                              §

               DEFENDANT’S REPLY TO PLAINTIFF’S REPLY AND OBJECTION

          Defendant Stephen K. Hann (“Hann” or the “Defendant”), debtor in the above-captioned

bankruptcy case, files this reply (“Defendant’s Reply”) to Plaintiff’s Reply and Objection to De-

fendant’s Response to Plaintiff’s Motion for Summary Judgment and Cross Motion for Summary

Judgment (“Plaintiff’s Reply”) filed by Plaintiff Saeed Kahkeshani.

I.        The Arbitration Did Not Determine Dischargeability and Therefore Did Not Con-
          sider All Facts Relevant to Dischargeability

          1.         The Plaintiff’s Reply inaccurately characterizes the Defendant’s position as at-

tempting to “re-litigate” the Arbitration. This is not the Defendant’s position. Rather, the Arbitra-

tion was held for a specific purpose: to litigate the state court issues underlying the

dischargeability proceeding. The state court issues were litigated in the Arbitration and a deter-

mination made on those issues. The Defendant does not dispute that he is jointly and severally

liable with SKH for the damages in the Arbitration Award. The Defendant is not attempting to

re-litigate whether he is liable under state law to the Plaintiff.




Kahkeshani v. Hann                                                                               1 of 9
Defendant’s Reply to Plaintiff’s Reply and Objection
            Case 12-03256 Document 81 Filed in TXSB on 08/10/15 Page 2 of 9




          2.         What the Defendant argues is that because the Arbitration decided state law issues

rather than the dischargeability issues, the Arbitration did not take into account certain facts that

are relevant to the dischargeability issues. Regardless of whether the Defendant presented such

facts during the Arbitration proceeding, they may not have been considered sufficiently relevant

or important for the Arbitrator to rely on in the state court determination. It does not then follow

that such facts are irrelevant and unimportant for the dischargeability determination.

          3.         In his Reply, the Plaintiff cites pages 3 through 15 of the Arbitration Award,

which is all but six pages of the 19-page Award, to support his contention that the Defendant vio-

lated the Trust Fund Statute “intentionally, knowingly, and with intent to defraud.” The citation

is so general as to provide almost no guidance as to what, specifically, the Award states that de-

finitively establishes that the Defendant has “intentionally, knowingly, and with intent to de-

fraud” committed fraud or defalcation while acting in a fiduciary capacity within the meaning of

Section 523(a)(4).

          4.         The Plaintiff does cite to Paragraph 21 of the Arbitration Award for support for

certain arguments. Paragraph 21 of the Arbitration Award finds that the Defendant had “intent to

defraud” the Plaintiff only as that term is defined by Texas Property Code Section

162.005(1)(A), i.e., when a trustee “retains, uses, disburses, or diverts trust funds with the intent

to deprive the beneficiaries of the trust funds.” The Defendant did know and intend to deprive

the Plaintiff of the trust funds, believing in part (1) that he could repay the trust funds in accord-

ance with the safe harbor provision in Texas Property Code Section 162.031(c) and (2) that many

of the payments were permissible payments of general business overhead under Texas Property

Code Section 162.031(b). Although the Defendant may have had “intent to defraud” within the

specific meaning of the Construction Trust Fund statute, the meaning of that term is not neces-


Kahkeshani v. Hann                                                                                 2 of 9
Defendant’s Reply to Plaintiff’s Reply and Objection
             Case 12-03256 Document 81 Filed in TXSB on 08/10/15 Page 3 of 9




 sarily the common meaning of that term or the meaning that the term has for purposes of scienter

 under Section 523.

           5.         While the Arbitrator may have determined that the Defendant had knowledge of

 and intended his actions in making payments to or on behalf of himself and HBL; that such

 payments were improper under the Texas Construction Trust Fund Statute; and that, therefore,

 the Defendant had an “intent to deprive” the Plaintiff of the trust funds, the Arbitration Award

 does not show that the Defendant knew, at the time, that the actions were improper and intended

 to commit improper acts. In other words, the Arbitration Award does not make the necessary

 findings of scienter as required for a determination that a debt is not dischargeable..

           6.         The Defendant additionally reiterates his concern that the Arbitration Award fails

 to consistently distinguish between the actions and liability attributable solely to SKH, Hann in-

 dividually, or to both, particularly when trying to determine Hann’s state of mind. Such failure is

 a material defect for the use of the Arbitration Award to determine the non-dischargeability of

 Hann.

           7.         The Defendant certainly has no desire to re-litigate the fraud issues determined by

 the Arbitrator, as the Arbitrator determined that the Defendant had not made fraudulent misrep-

 resentations to the Plaintiff and was not directly and personally responsible for SKH’s misrepre-

 sentations to the Plaintiff.

II.        The Agreement to Arbitrate State Law Issues Does Not Preclude Consideration of
           Additional Facts Relevant to the Dischargeability Determination

           8.         The Plaintiff seems to argue that under the Agreed Order, the Arbitrator was to

 decide the issues of law pertaining not only to the state law claims and defenses alleged, but the

 issues of fact relating to all claims and defenses, including the dischargeability issues. However,

 the language quoted by the Plaintiff in his Reply does not support this interpretation, only that

 Kahkeshani v. Hann                                                                                  3 of 9
 Defendant’s Reply to Plaintiff’s Reply and Objection
              Case 12-03256 Document 81 Filed in TXSB on 08/10/15 Page 4 of 9




  the Arbitrator was to decide all issues of fact and law pertaining to violation of the Trust Fund

  Statute and other issues of state law. Although the Arbitration Award states that the “legal issue”

  of dischargeability is left for determination by the Bankruptcy Court, the parties nowhere agreed

  that the Bankruptcy Court, in order to decide the “legal issue,” could not consider additional

  facts relevant or important to the dischargeability determination, but not necessarily relevant or

  important to the state law issues.

            9.         The parties left the determination of the dischargeability issue to the Bankruptcy

  Court because of the Bankruptcy Court’s exclusive jurisdiction for such issue, including

  knowledge of the types of facts that would be relevant to such issue. The Arbitrator could not be

  expected to recognize and appreciate all fact issues relevant to a dischargeability determination

  when he was not authorized, or even necessarily qualified, to make the dischargeability determi-

  nation.

            10.        The Plaintiff’s argument is that, if the Defendant is liable for violating the Con-

  struction Trust Fund Statute, then the Defendant’s debt to the Plaintiff is automatically non-

  dischargeable. If that were true, then there would have been no reason or need for the parties to

  reserve the issue of dischargeability to the Bankruptcy Court.

            11.        The Plaintiff does not state any argument in the Reply regarding dischargeability

  under Section 523(a)(6) that was not already made in his Motion for Summary Judgment and

  responded to by the Defendant in his Response.

III.        Non-Dischargeability Under Section 523(a)(2) Requires Fraud-in-Fact by the Debt-
            or

            12.        The Defendant does not deny that under the Arbitration Award he is liable for the

  fraudulent misrepresentations of SKH to the Plaintiff under an alter ego theory. However, the



  Kahkeshani v. Hann                                                                                  4 of 9
  Defendant’s Reply to Plaintiff’s Reply and Objection
            Case 12-03256 Document 81 Filed in TXSB on 08/10/15 Page 5 of 9




alter ego doctrine applies to a principal’s liability for an entity’s debt, not the dischargeability of

that debt.

          13.        Neal v. Clark, 95 U.S. 704, 709 (1878) states that the fraud exception to discharge

“means positive fraud, or fraud in fact, involving moral turpitude or intentional wrong, as does

embezzlement; and not implied fraud, or fraud in law, which may exist without the imputation of

bad faith or immorality.” The Plaintiff argues that because the fraud exception does not include

fraud in law which may exist without imputation of bad faith or immorality, then it must include

fraud in law which does exist with imputation of bad faith or immorality. Without admitting any

bad faith or immorality on the part of the Defendant, the Plaintiff’s interpretation does not follow

the language of the opinion.

          14.        First, “without imputation of bad faith or immorality” is not stated as a condition

for fraud in law to be excluded from the fraud exception to discharge. The Supreme Court did

not say, “fraud implied in law, only when it exists without imputation of bad faith or immorality,

is insufficient.” The Supreme Court merely explains some of the reasoning behind the rule that

fraud in fact is required for the fraud exception to apply because fraud in law can exist without

imputation of bad faith or immorality.

          15.        Second, the Plaintiff’s reasoning is logically invalid and is known as “denying the

antecedent.” The Plaintiff argues that because fraud in law without imputation of bad faith or

immorality is insufficient to invoke the fraud exception, “under the converse of the Neal limita-

tion, fraud with or through the imputation of bad faith or immorality is sufficient under

§523(a)(2)(A).” [Plaintiff’s Reply p. 15]. Using the same logic, the Plaintiff would conclude

from the premise, “If one is in Houston, then one is in Texas” that if one is not in Houston, then

one is not in Texas. Although it could be true that one is not in Texas when one is not in Hou-


Kahkeshani v. Hann                                                                                  5 of 9
Defendant’s Reply to Plaintiff’s Reply and Objection
             Case 12-03256 Document 81 Filed in TXSB on 08/10/15 Page 6 of 9




 ston, it is not necessarily so. Likewise, it is not necessarily true that fraud in law with the imputa-

 tion of bad faith or immorality is sufficient to invoke the fraud exception.

           16.        In fact, it is not true that fraud in law with the imputation of bad faith or immorali-

 ty is sufficient to invoke the fraud exception. The Plaintiff’s interpretation ignores the first part

 of the sentence in Neal, which states affirmatively that the fraud exception “means positive

 fraud, or fraud in fact.” Because the Defendant was found liable for fraud only through an alter

 ego theory, no fraud in fact exists on the part of the Defendant.

           17.        None of the cases cited by the Plaintiff in support of his claim that fraud in law

 may be the basis for non-dischargeability under Section 523(a)(2) address the Supreme Court

 case of Neal, except for Recoveredge, L.P. v. Pentecost, 44 F.3d 1284 (5th Cir. 1995), in which

 the Fifth Circuit rejected as a matter of law that non-dischargeability under Section 523(a)(2)

 could be imputed to a debtor who was jointly and severally liable with his corporation and other

 shareholders in the corporation for damages relating to several fraudulent transactions.

IV.        Comment i

           18.        The Plaintiff speculates that the concern of Comment i to the Restatement of

 Judgments is to avoid giving preclusive effect to a judgment “when there is some ambiguity as to

 the basis for an award of damages.” [Plaintiff’s Reply p. 17]. However, this is not true and there

 is no need to speculate as to the concern of Comment i because the Fifth Circuit has explained

 that “[t]he rationale for this rule is that a determination in the alternative may not have been as

 rigorously considered as it would have been if necessary to the result, and the losing party may

 be dissuaded from appealing one determination because of the likelihood that the other will be

 upheld.” Schwager v. Fallas (In re Schwager), 121 F.3d 177, 183 (5th Cir. 1997)(quoting Eagle

 Properties, Inc. v. Scharbauer, 807 S.W.2d 714, 722 (Tex. 1991)). The concern is not one of


 Kahkeshani v. Hann                                                                                     6 of 9
 Defendant’s Reply to Plaintiff’s Reply and Objection
              Case 12-03256 Document 81 Filed in TXSB on 08/10/15 Page 7 of 9




 ambiguity, but of how rigorously the court of first instance considered the various alternative ba-

 ses for a judgment.

           19.        In any case, Comment i applies when the judgment of a court of first instance is

 based on more than one determination, each of which standing independently would be sufficient

 to support the result. The Plaintiff’s insistence that the damages in the Arbitration Award are the

 same for each basis of liability only underscores that each basis of liability is sufficient to sup-

 port the result and that Comment i applies to deny preclusive effect to the individual bases for

 liability.

           20.        Finally, Defendant does not agree that the agreement of the parties to arbitrate the

 state law issues underlying this proceeding prohibits him from attacking the preclusive effect of

 the Award. Again, the agreement between the parties was to arbitrate the state law issues; the

 dischargeability issues were explicitly left to the determination of the Bankruptcy Court. Because

 the Arbitrator was not to determine the dischargeability issues, he would not have had any reason

 to address facts relating only to the dischargeability issues or that are particularly important to

 the dischargeability issues.

V.         The Defendant’s Cross-Motion for Summary Judgment

           21.        In his Reply, the Plaintiff merely states that there is evidence to support his claims

 of non-dischargeability without attaching any such evidence to his Reply in the form of affidavits

 or other admissible evidence except for the Arbitration Award, which, as argued earlier, is not

 entitled to preclusive effect. The Plaintiff’s assertions in his Motion for Summary Judgment and

 Reply are not evidence in themselves supporting the non-dischargeability claims. The Plaintiff

 has therefore failed to show evidence for his non-dischargeability claims sufficient to rebut a mo-

 tion for summary judgment.


 Kahkeshani v. Hann                                                                                    7 of 9
 Defendant’s Reply to Plaintiff’s Reply and Objection
            Case 12-03256 Document 81 Filed in TXSB on 08/10/15 Page 8 of 9




          22.        The Plaintiff attempts to discredit the Defendant by claiming that the Defendant

“grossly misconstrued” the Arbitration Award by quoting the award’s statement that the Defend-

ant “may have hoped to repay the beneficiaries with other monies at some time in the future.”

The fact that the Arbitrator ultimately concluded that the Defendant knew that subcontractors

and suppliers on the Plaintiff’s house were not being paid with the trust funds, does not detract

from the Arbitrator’s acknowledgement that the Defendant may have hoped to repay the trust

fund beneficiaries. It is actually necessary that the Defendant have known that trust funds were

not being paid to trust fund beneficiaries in order for the Defendant to have hoped that the trust

fund beneficiaries would be repaid with future monies. In other words, it would make no sense

for the Defendant to hope that the trust fund beneficiaries would be repaid with future monies if

he believed that the trust funds were already being paid to trust fund beneficiaries. The fact re-

mains that the Arbitrator acknowledged the possibility that the Defendant made payments from

the trust funds to non-trust fund beneficiaries without malice or any intention to harm the Plain-

tiff under Section 523(a)(6) because he intended to replace the payments with future monies,

which would have been in accordance with Texas Property Code Section 162.031(c).

          23.        The parties have not agreed to abate the Plaintiff’s claims under Section 727 and

the Plaintiff has not put forward any evidence of such an agreement. No scheduling order is re-

quired for the Defendant to request summary judgment on the Section 727 claims. Federal Rule

of Civil Procedure 56(b) permits a party to file a motion for summary judgment “at any time un-

til 30 days after the close of all discovery.” This adversary proceeding has been pending for over

three years and for nearly 18 months since the Arbitration Award was issued. The Plaintiff has

had ample opportunity to conduct discovery on the Section 727 claims and has not even attempt-




Kahkeshani v. Hann                                                                                8 of 9
Defendant’s Reply to Plaintiff’s Reply and Objection
            Case 12-03256 Document 81 Filed in TXSB on 08/10/15 Page 9 of 9




ed to put forward evidence to support the Section 727 claims in his Reply. The Defendant is

therefore entitled to summary judgment on the Section 727 claims.

          WHEREFORE, the Defendant requests that the Court deny the Plaintiff’s Motion for

Summary Judgment, grant the Defendant’s Cross Motion for Summary Judgment, and grant the

Defendant all such other and further relief to which he may be entitled.


Dated: August 10, 2015

                                                       Respectfully submitted,

                                                       /s/ Reese W. Baker
                                                       Reese W. Baker
                                                       Texas Bar # 01587700
                                                       Baker & Associates
                                                       5151 Katy Freeway, Suite 200
                                                       Houston, Texas 77007
                                                       (713)869-9200
                                                       (713) 869-9100 Fax
                                                       ATTORNEY FOR THE DEFENDANT

                                               CERTIFICATE OF SERVICE

        I certify that on August 10, 2015, a true and correct copy of this Defendant’s Reply to
Plaintiff’s Reply and Objection was served via electronic delivery of the clerk of the bankruptcy
court to:

Jeffrey D. Carruth on behalf of Plaintiff Saeed Kahkeshani
jcarruth@wkpz.com, jcarruth@aol.com;ATTY_CARRUTH@trustesolutions.com

Bernard Lilse Mathews on behalf of Intervenor-Plaintiff Albert E Vacek, Jr
texlawyer@gmail.com

Bernard Lilse Mathews on behalf of Intervenor-Plaintiff Susan S Vacek
texlawyer@gmail.com

Jonathan D Saikin on behalf of Plaintiff Saeed Kahkeshani
jsaikin@wkpz.com

                                                                     /s/ Reese W. Baker
                                                                     Reese W. Baker


Kahkeshani v. Hann                                                                           9 of 9
Defendant’s Reply to Plaintiff’s Reply and Objection
